                                UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION


    Tonia Hardyway,

            Plaintiff(s),                            Case No. 3:22-cv-00037

    v.                                               Judge Eli J. Richardson
                                                     Magistrate Judge Alistair E. Newbern
    Denis McDonough, in his official capacity as
    Secretary, United States Department of
    Veterans Affairs,

            Defendant.


            PLAINTIFF’S MEMORANDUM IN SUPPORT OF HER OPPOSITION TO
                     DEFENDANT’S PARTIAL MOTION TO DISMISS

            Plaintiff, through counsel, opposes Defendant’s Partial Motion to Dismiss.

I.          BRIEF HISTORY OF PLAINTIFF’S CLAIMS

            On October 28, 2016, Plaintiff Dr. Tonia Hardyway (“Plaintiff” or “Complainant”) made

initial contact with the Agency’s Office of Resolution Management (ORM) to initiate the Equal

Employment Opportunity (EEO) process. Exhibit A at 0043. 1 ORM issued her Notice of Right to

File a Formal Complaint of Discrimination (Formal Complaint) on January 24, 2017. Id. Plaintiff

filed her Formal Complaint the same day. Exhibit A at 0002-0007.

II.         STANDARD OF REVIEW

            A Federal Rule of Civil Procedure 12(b)(6) motion requires the Court to construe the

complaint in the light most favorable to the Plaintiff, accept all the Complaint’s factual allegations

as true, and determine whether “it appears beyond doubt the plaintiff can prove no set of facts in


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  Exhibit A contains excerpts of the Report of Investigation (ROI) prepared by ORM. “Exhibit A”
followed by a number refers to the ROI pagination on the bottom center of the page.



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support of his claim which would entitle him to relief.” Bloch v. Ribar, 156 F.3d 673, 677 (6th Cir.

1998); Ziegler v. IBP Hog Mkt., Inc., 249 F.3d 509, 511-12 (6th Cir. 2001); Coffey v. Chattanooga-

Hamilton County Hosp. Auth., 932 F.Supp. 1023, 1024 (E.D. Tenn. 1996). The Court may not

grant a motion to dismiss simply based on a disbelief of a complaint’s factual allegations. Rather,

the Court must liberally construe the complaint in favor of the party opposing the motion and may

dismiss the case only where no set of facts could be proved consistent with the allegations which

would entitle the plaintiff to a recovery. Miller v. Currie, 50 F.3d 373, 377 (6th Cir. 1995).

III.      ARGUMENT

          Defendant first argues that Plaintiff’s disparate treatment cause of action should be

dismissed because it was not administratively exhausted. As discussed below, neither the facts of

this case, nor the law, support Defendant’s motion. Save for references to the Code of Federal

Regulations, Defendant offered no authority whatsoever for its position.

          A.     Plaintiff is Entitled to Pursue Her Claim for Disparate Treatment
                 Discrimination

          The Sixth Circuit Court of Court Appeals follows the “expected scope of investigation

test.” Weigel v. Baptist Hosp. of East Tennessee, 302 F.3d 367, 380 (6th Cir. 2002). This means

that the administrative exhaustion requirement “is not meant to be overly rigid, nor should it ‘result

in the restriction of subsequent complaints based on procedural technicalities or the failure of the

charges to contain the exact wording which might be required in a judicial pleading.’ . . . As a

result, the EEOC complaint should be liberally construed to encompass all claims ‘reasonably

expected to grow out of the charge of discrimination.’” Randolph v. Ohio Dep’t of Youth Servs.,

453 F.3d 724, 732 (6th Cir. 2006) (internal citations omitted); see also Younis v. Pinnacle Airlines,

Inc., 610 F.3d 359, 362 (6th Cir. 2010). Moreover, “the facts alleged in the body of the EEOC




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charge, rather than merely the boxes that are marked on the charge, are the major determinants of

the scope of the charge.” Bray v. Palm Beach Co., 907 F.2d 150 (6th Cir. 1990).

       Defendant also neglects to mention the fact that the purpose of the administrative

exhaustion requirement is to trigger an investigation, which gives notice to the alleged wrongdoer

of its potential liability and enables the EEOC to initiate conciliation procedures in an attempt to

avoid litigation. Davis v. Sodexho, Cumberland College Cafeteria, 157 F.3d 460, 463 (6th Cir.

1998) (citing EEOC v. Bailey, 563 F.2d 439, 447 (6th Cir. 1977).

       Despite Defendant’s request to narrowly construe the claims, this Court is empowered to

construe Plaintiff’s Complaint liberally to include the scope of Plaintiff’s EEO administrative

allegations which can reasonably be expected to grow out of her charges. Here, Plaintiff did not

fail to raise claims of disability discrimination during the administrative process. The investigation,

conducted by the Agency’s Office of Resolution Management (ORM), which produced the ROI,

clearly proves the Plaintiff raised numerous allegations of disparate treatment discrimination based

on race during the EEO administrative process.

       The cover sheet of Plaintiff’s Formal Complaint identifies “Race – African American” as

a basis for her claim of discrimination. Exhibit A at 0002, Block 8. In the narrative section of the

same form, Plaintiff wrote, in part:

       - Being informed by VA TVHS EEO Program Manager/ADR Coordinator on
       10/18/2016 that I would not be in my current situation (removed from role as
       Assistant Chief, SWS July 25, 2016), unless I was [one] of two black females.
       - Requirement to remove my job title as Assistant Chief, Social work Service from
       email signature block, while other similarly situated white VA TVHS are allowed
       to keep their title in their signature block.

Id. at Block 9.

       Responsive to the “Remedies Sought” section of the Formal Complaint of Discrimination,

Plaintiff attached an additional narrative seeking, among other items, “This compensation amounts

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for the time in which VA TVHS failed to allow me the opportunity as the Assistant Chief, Social

Work Service (GS-13) to serve in the role as the Chief, Social Work Service (GS--14) in her

absence, as other similarly situated white Assistant Chiefs of their service have been allowed.”

Id. at 0004 (Emphasis added.)

       The Agency’s Informal Counseling notice, dated January 24, 2017, acknowledged

Complainant’s claims of race discrimination:

       The aggrieved party . . . stated she was discriminated against based on race and sex
       ....

       Ms. Hardyway states after reporting the unethical conduct of two male social
       workers (White, no names provided) on June 9, 2016, she was targeted and made
       the subject of an AIB. Ms. Hardyway stated she was discriminated against based
       on her race (Black) when the following events occurred: . . . .

Exhibit A at 0008-0037.

       The Agency’s Counselor Report, dated January 26, 2017, acknowledged Plaintiff’s claims

for race discrimination and even analyzed them. Exhibit A at 0077-0099.

       The Agency, based solely on timeliness, excluded certain claims and investigated only

hostile work environment and reprisal claims. Exhibit A 0165-0171. However, the hostile work

environment claim was investigated on the basis of race, sex, and religion. Exhibit A at 0188.

       Plaintiff’s Written Affidavits, totaling more than 50 pages, repeatedly (31 times) references

how she (as a Black woman) was treated differently than similarly-situated White employees and

White managers/Responsible Management Officials. Exhibit A at 0199-0249. The Agency also

asked pointed questions about race and disparate treatment to the Responsible Management

Officials and witnesses in their Affidavits:

       Was the complainant’s age, race, sex, religion, and prior EEO activity factors in
       the denial of her opportunity to attend the abovementioned training? Exhibit A at
       255 (emphasis added.)



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       Can you identify any of the complainant's co-workers (similarly situated) not of the
       complainant's age (younger than she is), not of her race, not of her sex, not of her
       religion, and without prior EEO activity who was treated more favorably than the
       complainant was in regards to being allowed to perform the duties as the Assistant
       Chief of Social Work Services? Exhibit A at 258 (emphasis added.)

       Are you aware of Complainant’s race? If so, what do you believe her race to be?
       Exhibit A at 261, 265, 278, 283, 287.

       Was this incident based on the complainant's age, race, sex, religion, prior EEO
       activity, or meant to subject her to harassment/hostile work environment? Exhibit
       A at 263, 266, 273, 275, 279, 285, 288.

       Next, the Agency’s EEO Counselor’s Report outlines Plaintiff’s claims and Management’s

responses to the same. Management’s responses clearly indicate that it was aware that Plaintiff

was raising claims of disparate treatment based on race.

       Claim - 1: Other - Administrative Investigation Board (AIB)

       Brief Description of Claim:

       The aggrieved party, Ms. Tonia L. Hardyway stated she was discriminated against
       based on race and sex on February 23, 2016, and on July 22, 2016, when she was
       subjected to a biased AIB interview (no specific details provided). . . .

       Management’s Response:

       . . . . I don’t deny meeting with Ms. Hardyway, as I’ve had several conversations
       with her, . . . However, I did not state what she has quoted or attributed to me, that
       she and Chief of Social Work Service would not be in this situation unless they
       were two black females. I discussed with her the previous situations that the service
       (Social Work) was under investigation (Administrative Investigation Boards) and
       the previous situations employees raised in complaints directly to me had a racial
       component. The employees perceived that leadership in Social Work preferred to
       hired Black employees, and that Black employees were treated favorably over
       White employees. . . . It is unsettling to know Ms. Hardyway took everything out
       of context with what appears to be the intent of demonstrating that Leadership
       treated her or the Chief differently based on their race. The allegations that initiated
       the administrative investigation were brought to the attention of management, and
       management made a decision to convene a board to investigate. The decisions were
       not based on anyone s race, but instead, were based on the content and severity of
       the allegations.

Exhibit A at 0044-0045.

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          Claim - 2: Detail

          Brief Description of Claim:

          Ms. Hardyway stated on July 22, 2016 she was informed effective July 25, 2016,
          she would be removed from her position and detailed. Ms. Hardyway stated she
          was discriminated against based on race when the following events occurred:

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          Claim - 3: Working Conditions

          Brief Description of Claim:

          Ms. Hardyway stated on October 24, 2016, after reviewing the AIB
          recommendations she discovered a similarly situated White Male VA TVHS Chief
          (no name provided) had been provided better working conditions and
          accommodations during his removal related to an AIB investigation, as had
          similarly situated Assistant Chiefs. Ms. Hardyway stated she was discriminated
          against based on the following events: . . . .

          The Agency’s ‘Management’s Response’ to Claims 2 and 3 were almost identical to its

response to Claim 1. Exhibit A at 0046-0047. Even Claim 4, Plaintiff’s harassment / hostile work

environment claim (as couched by the Agency) contains ample allegations of disparate treatment

based on race. Exhibit A at 0049-0057. Just some of the facts and allegations supporting claim 4

follow.

          Claim - 4: Harassment/Hostile Work Environment (Non-Sexual)

          Brief Description of Claim:
          Ms. Tonia Hardyway, aggrieved party, stated on October 24, 2016, she obtaining
          [sic] a copy of the recommendations provided by the Administrative Investigative
          Board (AIB) investigation compliance concerns within the Social Work Services
          line and discovered what she deemed to be inherent bias and discriminatory actions
          taken against her based on the following:

          1) Ms. Hardyway stated after reporting the unethical conduct of two male social
          workers (White, no names provided) on June 9, 2016, she was targeted and made
          the subject of an AIB. Ms. Hardyway stated she was discriminated against based
          on her race (Black) when the following events occurred:




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   a. Ms. Hardyway stated during a meeting with Ms. Diana Dilkes, EEO manager, on
   October 18, 2016, Ms. Dilkes stated Ms. Hardyway and the Chief of Social Work
   Service (SWS) (no name provided) would not be in this situation unless they were
   two black females.

   b. Ms. Hardyway stated on June 9, 2015, she was notified by Compliance of
   erroneous documentation placed in medical records by White male social work
   staff.

   c. Ms. Hardyway stated VA TVHS Leadership (no specific names provide)
   recommended an AIB aimed at investigating her and the Chief, SWS (two Black
   female leaders).

   2) Ms. Hardyway stated on July 22, 2016 she was informed effective July 25, 2016,
   she would be removed from her position and detailed. Ms. Hardyway stated she
   was discriminated against based on race when the following events occurred:

   a. Ms. Hardyway stated on July 22, 2016, she me with Dr. James Wells, Acting
   Chief of Staff, who issued her a Detail Memorandum which stated “Until further
   notice, you are being relieved from your role as Assistant Chief, Social Work
   Service including all clinical care responsibilities.” Ms. Hardyway stated removing
   her role as VA TVHS Assistant Chief, Social Work Services was disparate
   treatment since similarly situated White employees (aforementioned personnel)
   have not been subjected to being removed from their roles.

   b. Ms. Hardyway stated VA TVHS leadership’s (no specific name provided)
   decision to remove her from her position as one of two black female leaders of a
   service line is unprecedented. Ms. Hardyway stated the action was also
   discriminatory since both Black leaders of a service were removed simultaneously.
   Ms. Hardyway stated in the past similarly situated White Chief and Assistant Chiefs
   in similar circumstances were not removed from their roles simultaneously. . . .

   f. Ms. Hardyway stated she was not given the opportunity to continue in her role or
   serve as Acting Chief, Social Work Service as similarly situated White TVHS
   Assistant Chiefs had been provided during similar circumstances. Ms. Hardyway
   stated Ms. Gail Mauer, Ms. Linda Halperin, and Mr. John Henderson were all
   allowed to remain in their positions and were promoted to Acting Chiefs when their
   Chiefs were removed from their roles and detailed out of their service areas.

   3) Ms. Hardyway stated she is being discriminated against based on the lack of
   response and interaction by management, as evidenced by the following events:
   a. Ms. Hardyway stated since she reporting issues of concern June 9, 2015 related
   to the unethical conduct of two White male social workers, “management” has not
   had any discussion or interaction with her.




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      b. Ms. Hardyway stated since my reporting issues related to aforementioned two
      white male social workers, management has refused a scheduled meeting with her
      (no specific date or names of management officials provided).

      c. Ms. Hardyway stated she has learned a similarly situated White male, Chief
      PM&RS (no specific name provided), has been allowed to communicate with VA
      TVHS Executive leadership and VISN staff (no names provided) while undergoing
      an AIB.

      d. Ms. Hardyway stated numerous similarly situated White managers have been
      allowed to report on conduct, patient care, and performance issues related to their
      staff. Ms Hardyway stated these same White managers requests to meet with higher
      level executive leadership staff were not ignored and they were afforded the
      opportunity to meet with leadership to resolve staffing related issues. . . .

      7) Ms. Hardyway stated was discriminated against when she was not provided the
      opportunity to continue in her role as Assistant Chief of Social Work service and/or
      Acting Chief Social Work Service. Ms. Hardyway stated in previous situations
      involving similarly situated personnel such as Ms. Gail Maurer (White Female),
      Assistant Chief, SWS; Mr. John Henderson (White Male), Assistant Chief, HR; and
      Ms. Linda Halperin (White Female), Assistant Chief, PM&RS, the aforementioned
      personnel were not subjected to such an isolating and demeaning process but
      instead were allowed to remain in their positions until the completion of
      investigations in their service areas, and were also promoted to Acting Chief of
      their services while their service Chiefs were detailed out of the service. Ms.
      Hardyway stated as Black Female she has not been treated the same as her similarly
      situated White counterparts, due to being treated as having an identical role and
      responsibility as her supervisor.

      8) Ms. Hardyway stated she was discriminated against based on Race (Black) and
      Sex (Female) after being subjected to an investigation overseen and directed by VA
      TVHS Executive Leadership, VA TVHS Staff and VISN 9 Staff (no specific names
      provided) that all identify as White. Ms. Hardyway stated VA TVHS Health System
      Director, Ms. Suzanne Jene and Martin Traxler, and VA TVHS Executive Leaders
      (no specific names provided), all identify as White, and were responsible for
      selecting an all-White AIB panel, consulting with all-White VA TVHS ELR and
      Regional Counsel personnel. Ms. Hardyway stated all personnel directly involved
      in the investigation of the VA TVHS Social Work Service, to include the AIB
      Panel, information gathering and reviewing, and VISN 9 staff consulted, all identify
      as White. Ms. Hardyway stated similarly situated personnel Ms. Gail Mauer
      (White), Ms. Linda Halperin (White), Ms. Paula Kinsel (White), and Mr. John
      Henderson(White)        have      not    undergone    or   been     subjected     to
      investigations/oversight by the leadership or consultants comprised solely of one
      race not identical or similar to their own.

Again, Management’s Response to Claim 4 was the same as Claims 1 through 3.

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       Applying the expected scope of investigation test to this case, Plaintiff’s factual allegations

were more than sufficient notice that Plaintiff perceived herself to be a victim of disparate

treatment discrimination based on her race. Other circuits follow this rule. See, e.g., Deravin .

Kerik, 335 F.3d 195, 201 (2d Cir. 2003). Lattimore v. Polaroid Corp., 99 F.3d 456, 464 (1st Cir.

1996); Martinez v. Potter, 347 F.3d 1208, 1210 (10th Cir. 2003).

       The Agency’s lone argument – that no disparate treatment claim proceeded through the

administrative process – is immaterial. See Doc. 28 at 6 of 10. Nevertheless, Plaintiffs are not

barred from raising an uncharged claim in court simply because the EEOC failed to investigate an

uncharged claim that reasonably grew out of claims in the complaint. Dixon v. Ashcroft, 392 F.3d

212, 219 (6th Cir. 2004). As the Sixth Circuit has held, the key purpose for the exhaustion

requirement is to put the alleged wrongdoer on notice of the accusations. Id. at 217. Plaintiff’s

EEO complaint unquestionably alleged that, as a Black woman was treated differently than

similarly situated White counterparts. Her detailed allegations, which included statutory language

of disparate treatment discrimination, was more than sufficient to put the Agency on notice that

she was claiming race discrimination. In the Sixth Circuit, a claim relating to employment

discrimination included in an investigation which can reasonably be expected to grow out of the

charge of discrimination, and claims like or reasonably related to the allegations contained in the

EEO charge can be included in a complaint. As such, Defendant’s claim that Plaintiff did not

administratively exhaust her Title VII disparate treatment claim fails.

       B.      Defendant’s Argument that Plaintiff Cannot Assert Retaliation Claims she has
               not Exhausted Also Fails

       Defendant first argues that Plaintiff should be limited to only the exhausted claims of

retaliation; that is: 1) a March 4, 2018, non-selection to a 90-day detail as Acting Women’s Veteran




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Program Coordinator; and 2) an August 13, 2018, non-selection to the Supervisory Women

Veterans Program Manager position. See Doc. 28 at 7 of 10. Once again, Defendant is incorrect.

       On March 8, 2017, the Agency’s ORM issued a Notice of Partial Acceptance of Plaintiff’s

EEO Complaint, adding reprisal to her complaint. Exhibit A at 0165-0171. Paragraph 10 of that

Notice states that Plaintiff’s complaint of discriminated raised the following claims:

       Your client’s complaint of discrimination raises the following claims:

       Whether complainant was subjected to a hostile work environment based on age
       (over 40), race (black) and sex (Female), religion (Christian) and reprisal (as
       evidenced by the following events:

       1. On February 23, 2016, Ms. Joanna, Walters, Safety and Value, provided
       complainant with erroneous information prior to her Administrative Board of
       Investigations (AIB) interview.

       2. On June 9, 2016, complainant was targeted by facility leadership for an AIB after
       complainant reported unethical behavior of two employees.

       3. On July 22, 2016, Dr. James Wells, Acting Chief of Staff, issued complainant a
       detail memorandum, detailing her from Social Work Service (SWS) to G328, a
       non-clinical area.

       4. On July 25, 2016, complainant was detailed to an office, with four work stations,
       shared by three other employees, without a chair, telephone and without computer
       access.

       5. On September 6, 2016, complainant was removed from key SWS email work
       groups.

       6. On October 6, 2016, complainant was denied an opportunity to attend Case
       Management training.

       7. On October 10, 2016, Jennifer Silva, was detailed into complainant’s former
       positon, without notice to complainant.

       8. On October 12, 2016, complainant was told not to enter her former office (no
       names provided).

       9. From July 25, 2016 through October 10, 2016, Mr. Michael Sullivan-Tibbs,
       Acting Chief, SWS rarely interacted with complainant, or provided supervision.

       10. On October 17, 2016 and on October 25, 2016, Catovia Raynor, Acting Chief,
       SWS, failed to respond to complainant’s email.

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        11. On October 18, 2016, the facility EEO PM, stated, complainant and the Chief
        of SWS “would not be in this situation (detailed) unless they were two black
        females.”

        12. On October 19, 2016, Mr. Anthony Reedin, Human Resources, failed to provide
        answers to complainant’s request concerning the duration of her detail.

        13.On October 24, 2016, complainant was instructed to remove her title “Assistant
        Chief, SWS from her email signature block. (No names provided).

        14.On November 2, or November 3, 2016, Jennifer Vedral-Baron, Health System
        Director, stated Murfreesboro Campus “was like a large planation,” and referred to
        workers as “busy bees.”

        15. From approximately August 7, 2016 to November 6, 2016, facility leadership
        failed to notify complainant of the AIB completion.

        16. From December 2016 to present, Jeremy Hillard (JH), Chief of Staff, HR and
        other facility leadership failed to provide complainant feedback on her FY16
        performance appraisal, functional statement, and self-assessment the complainant
        has submitted.

        17. On December 6, 2016, JH instructed complainant to remove her designation as
        Assistant Chief, SWS, from a VA Pulse page, pending the outcome of the detail
        assignment.

        18. From July 2016 to present, complainant was not allowed to perform the duties
        of Acting Chief, SWS.

Exhibit A at 0168-0169. 2

        Moreover, EEOC Administrative Judge Steven D. Townsdin, Federal Sector Hearings

Unit, Memphis District Office, in his Pre-Hearing Order, accepted the following claims for

adjudication:

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 Event 3 was dismissed as a discrete act for lack of timeliness, but was accepted as related to the
overall pattern of harassment and, therefore, was included for consideration by the Agency as part
of Plaintiff’s harassment/hostile work environment claim.

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   Issues for Hearing & Brief Descriptions of Complainant’s Theories and Agency’s
   Defenses

   A. Issues for Hearing

   Whether complainant was subjected to a hostile work environment based on age
   (over 40), race (black) and sex (female), and reprisal, as evidenced by the
   following events:

   3. On July 22, 2016, Dr. James Wells, Acting Chief of Staff, issued complainant a
   detail memorandum, detailing her from Social Work Service (SWS) to G328, a
   non-clinical area.

   4. On July 25, 2016, complainant was detailed to an office, with four work stations,
   shared by three other employees, without a chair, telephone and without computer
   access.

   5. On September 6, 2016, complainant was removed from key SWS email work
   groups.

   6. On October 6, 2016, complainant was denied an opportunity to attend Case
   Management training.

   7. On October 10, 2016, Jennifer Silva, was detailed into complainant’s former
   position, without notice to complainant.

   8. On October 12, 2016, complainant was told not to enter her former office (no
   names provided).

   9. From July 25, 2016, through October 10, 2016, Mr. Michael Sullivan- Tibbs,
   Acting Chief, SWS rarely interacted with complainant, or provided supervision.

   10. On October 17, 2016, and on October 25, 2016, Catovia Raynor, Acting Chief,
   SWS, failed to respond to complainant’s email.

   11. On October 18, 2016, the facility EEO PM, stated, complainant and the Chief
   of SWS “would not be in this situation (detailed) unless they were two black
   females.”

   12. On October 19, 2016, Mr. Anthony Redferin, Human Resources, failed to
   provide answers to complainant’s request concerning the duration of her detail.

   13. On October 24, 2016, complainant was instructed to remove her title “Assistant
   Chief, SWS from her email signature block. (No names provided).

   14. On November 2, or November 3, 2016, Jennifer Vedral-Baron, Health System
   Director, stated Murfreesboro Campus “was like a large planation,” and referred to
   workers as “busy bees.”

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       16. From December 2016 to present, Jeremy Hillard (JH), Chief of Staff, HR and
       other facility leadership failed to provide complainant feedback on her FY16
       performance appraisal, functional statement, and self-assessment the complainant
       has submitted.

       17. On December 6, 2016, JH instructed complainant to remove her designation as
       Assistant Chief, SWS, from a VA Pulse page, pending the outcome of the detail
       assignment.

       18. From July 2016 to present, complainant was not allowed to perform the duties
       of Acting Chief, SWS.

       19. On March 4, 2018, Complainant was not selected for a 90-day detail to the
       Acting Women’s Veteran Program Coordinator position in reprisal for engaging in
       protected EEO activity.

       20. On August 13, 2018, Complainant was not selected for the Supervisory Women
       Veterans Program Manager (Social Worker) GS-13 position, announcement
       number CBAJ-10146112-18-BPD in reprisal for engaging in protected EEO
       activity.

Exhibit B. (Emphasis added).

       Finally, reprisal is also one of the “checked” boxes in ORM’s Notice of Partial Acceptance

of Plaintiff’s EEO complaint sent to TVHS Director Vedral-Baron. Exhibit A at 0178-0180. Given

the fact that the Agency itself considered all of these enumerated allegations as reprisal claims in

the administrative investigative phase, and the EEOC adjudicated the above-referenced allegations

as reprisal claims, the dye has been cast. Defendant offers no legal basis for reframing Plaintiff’s

allegations and claims, nor does any exist. Plaintiff’s claims for reprisal were explicitly accepted

for investigation, and are therefore fair game in this litigation. Defendant’s argument that the two

2018 non-selection claims are the only reprisal claims before this Court should be rejected.

       Next, the Agency argues that because Plaintiff’s ‘per se retaliation’ claim has yet to be

fully processed by the Agency, it should be excluded from the pending litigation. Because the

Agency’s Office of Employment Discrimination Complaint Adjudication (OEDCA) has yet to

issue a Final Agency Decision (FAD) on that claim, the Agency’s position is correct. However,


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once the FAD is issued, assuming the FAD determines that Plaintiff failed to prove her claim,

Plaintiff will have two options: 1) appeal the FAD to the EEOC’s Office of Federal Operations

within 30 days; or 2) file a civil action in U.S. District Court within 90 days. Therefore, Plaintiff

may seek leave to amend her Complaint at the appropriate time.

       To that end, on May 2, 2022, the Agency’s OEDCA issued a FAD regarding Plaintiff’s

March 26, 2021, claims that she was subjected to a hostile work environment based on race, and

reprisal for protected EEO activity, when: 1) On February 18, 2021, Complainant was not selected

for the position of Social Worker Program Manager, GS-0185-14, Vacancy Announcement No.

CBTG-4296-10981334-21-KL, GS-14; and 2) On February 19, 2021, the Chief of Staff and the

Medical Center Director listed Complainant’s position as a GS-12 position on an organizational

chart. Exhibit C. Therefore, Plaintiff will be seeking leave to file an Amended Complaint to add

these allegations.

       Lastly, for the first time, Defendant raises (in essence) a choice of forum argument

disguised in Rule 12(b)(6) language. Defendant claims that because the Merit Systems Protection

Board (MSPB) examined and decided that Plaintiff’s demotion (which the MSPB Administrative

Judge overturned on its merits) was not motivated by retaliation. See Doc. 28 at 7-8 of 10.

Complainant, however, can proceed with the claim that her demotion was motivated, in part or in

whole, by reprisal under Title VII in federal court as a “mixed case” appeal. “Judicial review of an

MSPB decision is generally in the Federal Circuit on the administrative record, 5 U.S.C. §§

7703(b)(1), 7701(c)(1)-(3); where the employee also has claims under certain anti-discrimination

laws, including Title VII, such cases proceed in district court, id. At § 7703(b)(2) (citing id. At §

7702), where the plaintiff is entitled to trial de novo of the facts regarding her discrimination

claims. Id. At § 7703(c).” Carrethers v. Speer, 698 F. App’x 266, 270-71 (6th Cir. 2017); see also



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29 C.F.R. § 1614.302(a)(2) (2016) (defining “mixed case appeal” as one in which an employee

“alleges that an appealable agency action was effected, in whole or in part, because of

discrimination”). Therefore, Plaintiff’s claim that the Agency demoted her in reprisal for protected

EEO activity is properly before this Court.

       C.      Background Evidence of Acts Demonstrating Harassment / Hostile Work
               Environment Outside the Relevant Statute of Limitations is Admissible

       Plaintiff concurs with Defendant’s argument that the first exhausted incident of

harassment/hostile work environment is July 22, 2016. Doc. 28 at 8 of 10. However, that is not the

end of the analysis. Federal employees “must initiate contact with a counselor within 45 days of

the date of the matter alleged to be discriminatory or, in the case of a personnel action, within 45

days of the effective date of the action.” 29 C.F.R. 1614.105(a). Nevertheless, any acts of

discrimination, hostile work environment, or reprisal occurring before the 45-day statute of

limitations are relevant and admissible background evidence, though time-barred as to available

relief. National Railroad Passenger Corp. v. Morgan, 536 U.S. 101, 116-117 (2002).

       Defendant also claims that Plaintiff’s exhausted hostile work environment claims end on

March 8, 2017. Doc. 28 at 8 of 10. Not so. In fact, Defendant’s Partial Motion to Dismiss concedes

that Plaintiff has also administratively exhausted two 2018 non-selection allegations. See Doc. 28

at 6 of 10. Further, as discussed above, because of the OEDCA FAD, Plaintiff will be separately

seeking leave to add two additional incidents alleging hostile work environment and reprisal. As

articulated by the U.S. Supreme Court, incidents outside the 45-day statute of limitations are

admissible as background evidence in support of Plaintiff’s hostile work environment claim.

Further, Plaintiff’s administratively exhausted claims include those identified in Section B above,

as well as the two 2018 non-selections. Additional incidents demonstrating the Agency’s hostile

work environment may also apply if leave to amend is granted.


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       D.      Dismissal is not the Appropriate Remedy

       If the Court is inclined to grant Defendant’s Partial Motion to Dismiss, either in whole or

in part, it should give Plaintiff an opportunity to amend the complaint to cure any defects unless

such leave would be futile. Briscoe v. Eppinger, No. 1:18-cv-02417, 2021 U.S. Dist. LEXIS 99350

(N.D. Ohio May 26, 2021).

IV.    CONCLUSION

       Defendant misstates and mischaracterizes Plaintiff’s claims, as well as the applicable law.

Plaintiff put the Agency on ample notice, at the EEO administrative investigation phase, that she

was pursuing a claim for disparate treatment based on her race. Further, under this Court’s

“expected scope of investigation test,” construing Plaintiff’s complaint liberally, encompasses her

disparate treatment claims because they reasonably grow out of her original charge of

discrimination. Lastly, Plaintiff properly exhausted her reprisal and hostile work environment

claims. Any hostile work environment incidents outside the 45-day statute of limitations are

admissible as background evidence. For these reasons, Defendant’s Partial Motion to Dismiss

should be denied.


                              Respectfully submitted this 16th day of May, 2022.

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